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     League of Women Voters of Greeley, Weld County, Inc.; Latino Coalition of Weld County; Barbara Whinery; and Stacy Suninga; Petitioners  v.  The Board of County Commissioners of the County of Weld County, Respondent No. 24SC394Supreme Court of Colorado, En BancJuly 1, 2024
    
      &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Court
      of Appeals Case No. 24CA774
    
    
    
      &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Petition
      for Writ of Certiorari Pursuant to C.A.R. 50 GRANTED.
    
    
      &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Whether
      the trial court erred in concluding that section 30-10-306,
      et seq., C.R.S. (2023), implies a private right of action.
    
    
      &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Whether
      the trial court erred in concluding that plaintiff-appellants
      had standing to sue the Board based on nothing more than
      generalized grievance constituting pure procedural
      irregularities.
    
    
      &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Whether
      the trial court erred in concluding as a matter of law that
      section 30-10-306, et seq., applies to a home rule county
      with a conflicting charter.
    
    
      &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Whether
      the trial court erred in determining there is no conflict
      between the provisions of section 30-10-306, et seq., and the
      Weld County home rule charter.
    
    
      &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Whether
      the Board must be directed to engage in a county commissioner
      redistricting process that complies with the redistricting
      statutes for future elections.
    